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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

MICHAEL GREGG and                           )
BRIDGETT BENDYK,                            )
                                            )
       Plaintiffs,                          )
                                            )       Case No. 4:20-cv-766 RLW
vs.                                         )
                                            )
B&G TRANSPORTATION, LLC d/b/a               )
B&G TRANSPORTATION, LLC                     )
and BRADLEY OLSON,                          )
                                            )
       Defendants.                          )

  DEFENDANTS B&G TRANSPORTATION, LLC, AND BRADLEY OLSON’S
     MOTION TO QUASH PLAINTIFF BRIDGETT BENDYK’S SECOND
   AMENDED NOTICE OF DEPOSITION AND SUBPOENA DUCES TECUM
         DIRECTED TO MARSHALL INVESTIGATIVE GROUP

       COME NOW Defendants, B& G Transportation, LLC, and Bradley Olson, by and through

their undersigned counsel, and pursuant to Federal Rule of Civil Procedure 45(d)(3), files their

Motion to Quash Plaintiff Bendyk’s Second Amended Notice of Deposition and Subpoena Duces

Tecum and its Memorandum in Support as follows:

       1.      On March 25, 2021, Plaintiff Bendyk provided Defendants with Plaintiff’s Second

Amended Notice of Deposition and Subpoena Duces Tecum directed to Marshall Investigative

Group (“Marshall”). See Second Amended Notice of Deposition, attached herein as Exhibit A.

       2.      Plaintiff’s Second Amended Notice and Subpoena are virtually identical to the last

two Notices and Subpoenas sent to Marshall. The only difference is the date.

       3.      Plaintiff is requesting the same information requested in the first Notice of

Deposition and Subpoena. See Motion to Quash and Exhibits A-C, Doc #38.

       4.      Plaintiff has requested:
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                (1) all written correspondence exchanged between Great West

                Casualty Company and Marshall pertaining to Bendyk and/or

                Plaintiff Michael Gregg; (2) all written correspondence exchanged

                between Great West and Marshall pertaining to File Number

                Q18991; (3) all invoices pertaining to File Number Q18991; (4) all

                internal written correspondence pertaining to File Number Q18991;

                and (6) all payments received by Marshall Investigative Group from

                Great West Casualty Company in the last five years pertaining to

                investigation of personal injury claims.

                See Doc #38, Ex A

        5.      These requests are protected by the work product doctrine, not relevant to any claim

or defense in this case, and the information requested is inadmissible at trial. Plaintiff is not entitled

to: written correspondence pertaining to Plaintiff Michael Gregg, invoices pertaining to Marshall’s

investigation of Plaintiffs, internal written correspondence, and/or all payments received by

Marshall from Great West Casualty Company in the last five years.

        6.      Marshall should not be forced to disclose protected communications to satisfy

Plaintiff’s counsel’s curiosities. The information sought cannot possibly lead to the discovery of

admissible evidence since the business relationship between Marshall and the insurance carrier

involved in this case has no bearing whatsoever on the issues presented.

        7.      Defendants incorporate by reference their previous Motions to Quash, as if fully

stated herein. See Doc ## 38, 45, 46, including all Exhibits.




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       8.        For good cause and in the interest of justice, the Second Amended Notice of

Deposition and underlying subpoena duces tecum should be quashed in their entirety, and the Court

should enter a protective order regarding any additional discovery of this nature.

       WHEREFORE Defendants B&G Transportation, LLC and Bradley Olson respectfully

pray this Court enter an Order quashing Plaintiff Bendyk’s Second Amended Notice of Deposition

and Subpoena Duces Tecum to Marshall Investigative Group or in the alternative grant a Protective

Order limiting the scope, and for such further relief the Court deems just and proper under the

circumstances.


                                             Respectfully submitted,

                                             ROBERTS PERRYMAN, P.C.

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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that the foregoing has been filed upon the court’s
electronic filing system this 15th day of April 2021 to:

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                                                /s/T ed L. Perryman




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